           Case 2:19-cv-08726-TJH-PLA Document 11 Filed 11/05/19 Page 1 of 7 Page ID #:39i

      ;p                                                                               FiL.cD
      ~~     CLAUDIA PORTOCARRERO
             15030 #24, Ventura Blvd,                ~.., R ~-,
             Sherman Oaks, CA 91403                ~ `-~ ~ ~ ~ ~~,~   L
                                                                               2Q1~ ~~~ -5 PM I~~ 0
             IN PRO PER
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                                  UNITED STATES DISTRICT COURT                             ''J=
                                                             -;                        __ __
                                 CENTRAL DISTRICT OF CALIFORNIA




                                                             Case No.
                 INNOVATIVE SPORTS                           2:19-cv-08726-TJH LAX
                 MANAGEMENT INC.,

                               Plaintiff,                    ANSWER OF DEFENDANT
                       vs.                                   CLAUDIA PORTOCARRERO,
 ~_                                                          AN INDIVIDUAL,TO
                Claudia A. Portocarrero; and                 COMPLAINT
                Luis Alejandro Tipacti,
                individually and DBA Picante
                Peruvian Cuisine,                            DEMAND FOR JURY TRIAL

                               Defendants,
                                                             Complaint filed: October 10, 2019



             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            Defendant Claudia Portocarrero, an individual answer the Complaint of plaintiff
            INNOVATIVE SPORTS MANAGEMENT INC.("Plaintiff'), as follows:


      _~        1. Answer to paragraph 1. Admit and deny all the rest allegations in this paragraph

-'.             2. Answer to paragraph 2: Deny. The court does not have subject-matter jurisdiction

      ~ `~ over the claims because to maintain an action in federal court, a plaintiff must satisfy the

            "irreducible constitutional minimum" of standing.

               3. Answer to paragraph 3: Admit and deny the remaining allegations of this paragraph

               4. Answer to paragraph 4: Admit
      ;=
                   ANSWER OF DEFENDANT CLAUDIA PORTOCARRCRO, AN INDIVIDUAL
          Case 2:19-cv-08726-TJH-PLA Document 11 Filed 11/05/19 Page 2 of 7 Page ID #:40G


 4
      I(        5. Answer to paragraph 5: Admit

                6. Answer to paragraph 6:Defendants are without sufficient information to admit or

             deny.

                7. Answer to paragraph 7: Defendants are without sufficient information to admit or

      c      deny.
f~    ~ `




-~    ~~        8. Answer to paragraph 8: Admit that I currently owns the business but deny all
       i
             remaining allegations in paragraph 8

                9. Answer to paragraph 9: Defendants are without sufficient information to admit or

             deny.

      ~ ;,      10. Answer to paragraph 10: Admit that she currently owns the business but deny all

             remaining allegations in paragraph 10
 :
 -
                11. Answer to paragraph ll :Admit that she currently owns the business but deny all

             remaining allegations in paragraph 11

                12. Answer to paragraph 12. Deny.

                13. Answer to paragraph 13. Deny.
~ ~,r ,
                14. Answer to paragraph 14.Defendant is without sufficient information to admit or

             deny.

                15. Answer to paragraph 15. Deny.

                16. Answer to paragraph 16. Deny.

      ~€        17. Answer to paragraph 17. Deny.

                18. Answer to paragraph 18. Deny.

                19. Answer to paragraph 19. Deny

                20. Answer to paragraph 20. Defendant is without sufficient information to admit or

             deny.



                     ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO, AN INDIVIDUAL
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    ~            ~
                        21. Answer to paragraph 21. Defendant is without sufficient information to admit or
             j ?,
                     deny.
    m        3!
                       22. Answer to paragraph 22. Deny

                       23. Answer to paragraph 23. Deny
~; ~ '.
                       24. Answer to paragraph 24. Deny
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                        25. Answer to paragraph 25. Deny
             I '.
                       26. Answer to paragraph 26. Deny

F                      27. Answer to paragraph 27. Deny

                       28. Answer to paragraph 28. Deny
             i
ti           i
             3         29. Answer to paragraph 29. Deny
             1




                       30. Answer to paragraph 30. Deny

             i         31. Answer to paragraph 31. Deny

                       32. Answer to paragraph 32. Deny
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                       33. Answer to paragraph 33. Deny
             l

                       34. Answer to paragraph 34. Deny
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                       35. Answer to paragraph 35. Deny
             i
                       36. Answer to paragraph 36. Deny

                       37. Answer to paragraph 37. Deny

                       38. Answer to paragraph 38. Deny

                       39. Answer to paragraph 39. Deny

                       40. Answer to paragraph 40. Deny

                       41. Answer to paragraph 41. Deny

                       42. Answer to paragraph 42. Deny

                       43. Answer to paragraph 43. Deny



                             ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO, AN INDIVIDUAL
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 ~       ~~       44. Answer to paragraph 44. Deny

                  45. Answer to paragraph 45. Deny
         ~_
                  46. Answer to paragraph 46. Deny

                  47. Answer to paragraph 47. Deny

         ~        48. Answer to paragraph 48. Deny
         E:
         I
                  49. Answer to paragraph 49. Deny

~;                50. Answer to paragraph 50. Deny

                  S1. Answer to paragraph 51. Deny

                  52. Answer to paragraph 52. Deny

 -~               53. Answer to paragraph 53. Deny
{~
                  54. Answer to paragraph 54. Deny

                  55. Answer to paragraph 55. Deny
  -=~
                  S6. Answer to paragraph 56. Deny

                  57. Answer to paragraph 57. Deny

                  58. Answer to paragraph 58. Deny

                  59. Answer to paragraph 59. Deny
     V
                  60. Answer to paragraph 60. Deny

                 61. Answer to paragraph 61. Deny

                                                AFFIRMATIVE DEFENSES

                                            (Rule 8. General Rules of Pleading)

              I should not be held liable for the claims made by the plaintiff in the complaint because:

`~~'`~ '`         1. This Court lacks subject matter jurisdiction over this action.To maintain an action in

              federal court, a plaintiff must satisfy the "irreducible constitutional minimum" of standing.




                     ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO, AN INDIVIDUAL
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?
             2.    The complaint and each and every purported claim for relief therein fail to set forth facts

         sufficient to state a claim for relief against defendants

             3. Defendants cannot be found liable in that Defendants alleged conduct, if any, did not

         violate andy state or federal statute, or constitutional provision including the ones cited in the

         complaint

     ~       4. The plaintiff was not injured, deprived of any right, privilege, or immunity secured to him

         under the United States Constitution, the State of California Constitution, or the laws of the

         United States of the State of California

             5.   The complaint and each and every purported claim for relief therein are barred because

         Defendants or their respective agents did nothing to affect any right of Plaintiff
.~
'`           6. Plaintiff's prayer for judgement and damages are barred because Defendants or their

         respective agents did nothing to affect any right of Plaintiff

             7. Defendant reserves the right to assert additional defenses in the event that discovery

         indicates that it would appropriate.
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~;



=.r ~. ~ ' REQUEST FOR RELIEF




         WHEREFORE,the Defendant requests:

'
~ ~~ 1. Dismissal of the Plaintiff's action with prejudice;

         2. An order that Plaintiff shall take no relief from the complaint;

         3. The costs of suit incurred herein;

         4. Such further relief the Court deems fair and just.




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                  ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO, AN INDIVIDUAL
         Case 2:19-cv-08726-TJH-PLA Document 11 Filed 11/05/19 Page 6 of 7 Page ID #:44


                10/29/2019                    ~
       ~~ ;+
                Sign•                  — --

                CLAUDIA PORTOCARRERO



                Defendant in Pro Per




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                        ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO, AN [NDIVIDUAL
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             PROOF OF SERVICE

              am employed in the County aforesaid, I am over the age of 18 years and not a party to the
             within action, my business address is 7043 Willis ave, Van Nuys CA 91405

             On 10-31-2019 I served the document listed below on the parties in this action as follows:
             DOCUMENT(S)SERVED:

             ANSWER OF DEFENDANT CLAUDIA PORTOCARRERO TO COMPLAINT OF
        "~   INNOVATIVE SPORTS MANAGEMENT INC.
  _     ,.
         i
 ti;
                                                       First Library Square
:~       ,      LAW OFFICES OF THOMAS
                                                       1114 Fremont Ave, South
                P.RII,EY, P.C.
                                                       Pasadena, CA 91030
                                                       Attorneys for Plaintiff


             [X](BY MAIL) I placed such envelope on the above date, with postage fully prepaid, for deposit
              in the US Postal Service at my place of business at Encino, California, following the ordinary
              business practices of my place of business. I am readily familiar with the business practice at my
              place of business for collection and processing of correspondence for mail with the US Postal
             Service. Under that practice, such correspondence is deposited with the US Postal Service the
             same day it is collected and processed in the ordinary course of business.

 '
 '           [](BY EMAIL TRANSMISSION)Per the agreement of the parties, by
             causing the transmittal of the documents)listed above, via electronic mail to the e-
             mail addresses)set forth herein on this date. The transmission was reported as
             complete and without error.

             [ ](BY FACSIMILE) I caused to be transmitted the document ''s( described herein via the
             facsimile number (s) listed above and/or on the attached Service list.
,~ ,,
             [X](STATE) I declare under penalty
'
-{       i
        ;(
      ~ NAME,       Merari           rillo
        SIGNATURE,
-' = ~' DATE 10-31-2019
